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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                   SHREVEPORT DIVISION

   MAGNOLIA ISLAND PLANTATION,                      CIVIL ACTION NO. 5:18-CV-1526
   L.L.C., ET AL.
                                                    DISTRICT JUDGE: S. MAURICE HICKS, JR.
   V.
                                                    MAG. JUDGE: KAYLA D. MCCLUSKY

   LUCKY FAMILY, L.L.C., ET AL.                     JURY TRIAL DEMANDED


                      ANSWER TO SEOND AMENDED AND RESTATED
                      COMPLAINT, DEFENSES, AND COUNTERCLAIMS

          NOW INTO COURT, through undersigned counsel, comes W.A. LUCKY, III (“Mr.

   Lucky”), who answer the Seconded [sic] Amended and Restated Complaint to Annul Sheriff’s

   Sale and for Other Relief, Document 186, referred to hereinafter as the “Second Amended

   Complaint,” as follows:

                                    AFFIRMATIVE DEFENSES

                                             First Defense

          The Second Amended Complaint fails to state a federal law or state law claim against the

   defendants upon which relief can be granted.

                                            Second Defense

          The Second Amended Complaint is replete with conclusory allegations that are made by

   plaintiffs in an effort to state various causes of action. However, such conclusory allegations,

   whether couched in terms of statements of facts or statements of law, are not sufficient to state a

   claim upon which relief may be granted.
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                                              Third Defense

           Plaintiffs’ Second Amended Complaint is vague and fails to state plaintiffs’ claims

   against the defendants with necessary specificity.

                                             Fourth Defense

           Mr. Lucky asserts that the incidents, injuries and/or damages alleged in the Second

   Amended Complaint (which are disputed) were solely caused and/or contributed by the liability,

   fault, and/or intentional acts of plaintiffs or parties, persons and/or entities other than defendants,

   and that as a result, any award or relief to plaintiffs is barred or should be reduced in proportion

   to the extent of that fault.

                                              Fifth Defense

           Mr. Lucky denies that he breached any duty to plaintiffs, if any such duty was owed, or in

   any way was at fault or that any actions or non-actions on defendants’ part caused or contributed

   to any event or injury complained of by plaintiffs.

                                              Sixth Defense

           To the extent plaintiffs have suffered any damages relating to the claims alleged in the

   Second Amended Complaint (which are disputed), plaintiffs should be denied any relief because

   plaintiffs do not have clean hands and any relief is precluded by the clean hands doctrine. As set

   forth more fully hereinafter, plaintiffs are attempting to evade the consequences of their efforts to

   frustrate the enforcement of a lawful judgment rendered, signed, and filed by the 26th Judicial

   District Court, Bossier Parish, Louisiana (“State Court”) in the lawsuit (referred to herein as

   “Lucky I”) captioned as “W. A. Lucky, III versus Barbara Marie Carey Carr,” number 127,573

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   in the State Court. Plaintiffs engaged in a scheme to try to place the property of Barbara Marie

   Carey Lollar (“Ms. Lollar”) against whom the aforementioned judgment had been rendered in

   the principal amount of $1,799,450.52, plus judicial interest on the aforesaid amount from the

   date of judicial demand until paid in full and all costs associated with the proceedings. Ms. Lollar

   did not take a suspensive appeal from the judgment. Instead, on the eve of Lucky I being

   submitted for a decision by the State Court, Ms. Lollar executed a conveyance of her property

   first to her husband, Ronald William Lollar (“Mr. Lollar”), who formed, and then transferred the

   property to, Magnolia Island Plantation, L.L.C. (“Magnolia”). But, the scheme hatched by Ms.

   Lollar, her husband, and Magnolia did not work because Ms. Lollar had received the promissory

   note (hereinafter the “Note”), Exhibit A to the Second Amended Complaint, which Mr. Lucky

   lawfully caused to be seized and sold in execution of the aforementioned judgment. Ms. Lollar,

   her husband, Magnolia, and their counsel had the theory that the Note could not be executed

   upon. However, that theory was legally incorrect, and the State Court so ruled. Now, plaintiffs

   have filed this civil rights action seeking to avoid the consequences of their devious, but ill-

   advised, misdeeds.

                                            Seventh Defense

          To the extent plaintiffs have suffered any damages relating to the claims alleged in the

   Second Amended Complaint (which are disputed), plaintiffs should be denied any relief for

   failure to mitigate their damages.




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                                             Eighth Defense

           At all relevant times relating to plaintiffs’ claims alleged in the Second Amended

   Complaint (which are disputed), defendants’ conduct was innocent, in good faith and justified by

   legitimate purposes. Defendants acted lawfully, reasonably, and in good faith at all times

   relevant to this litigation.

                                             Ninth Defense

           Plaintiffs do not have a constitutionally protected property right that has been taken or

   damaged by the defendants.

                                             Tenth Defense

           Defendants have not violated any constitutional or statutory right of plaintiffs.

                                            Eleventh Defense

           Ms. Lollar demanded, received, and has retained the proceeds from the Sheriff’s sale. Ms.

   Lollar has thereby ratified the sale. Ms. Lollar has thereby made a judicial admission of the

   legality of the sale.

                                            Twelfth Defense

           Mr. Lucky’s investigation of the claims asserted in the Second Amended Complaint is

   continuing, and Mr. Lucky reserves the right to assert additional affirmative defenses, third-party

   claims, and counterclaims that may now exist or in the future may be available based on

   discovery and further factual investigation of this case.




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                                          Thirteenth Defense

          Mr. Lucky is entitled to recover all costs of this action, including reasonable attorneys’

   fees, pursuant to 42 U.S.C.A § 1988.

                                               ANSWER

          AND NOW further answering, Mr. Lucky denies each and every allegation contained in

   plaintiffs’ Second Amended Complaint, except as admitted below:

          1.      The allegations of paragraph 1 of the Second Amended Complaint are denied.

          2.      It is admitted that Magnolia is a Louisiana limited liability company, domiciled in

   the State of Louisiana, which is represented by its Manager, Ronald William Lollar. For lack of

   sufficient information upon which to form a belief as to the truthfulness thereof, the allegation

   that Ms. Lollar is a resident of Fayette County, Tennessee is denied. Mr. Lucky shows that Ms.

   Lollar has previously alleged that she is an individual resident of Bossier Parish, Louisiana.

          3.      It is admitted that the Sheriff is defined as a political subdivision under Louisiana

   Revised Statutes 13:5102. However, it is denied that the Sheriff is defined as a political

   subdivision of Bossier Parish. The remaining allegations of paragraph 3 of the Second Amended

   Complaint are admitted.

          4.      The allegations of paragraph 4 of the Second Amended Complaint are denied.

          5.      The allegations of paragraph 5 of the Second Amended Complaint are admitted.

          6.      Numerous of the “allegations” made as a “preliminary statement” in paragraph 6

   of the Second Amended Complaint are conclusory and/or argumentative allegations without

   specific facts. Such conclusory allegations without specific facts are insufficient and do not

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   require an answer. Out of an abundance of caution, all such conclusory allegations are denied.

   Further answering, it is admitted that the Sheriff conducted a sheriff’s sale on October 24, 2018,

   at the Bossier Parish Courthouse. It is admitted that the sale was in fact of the Note under an

   executory judgment of the State Court, from which no suspensive appeal had been taken. It is

   admitted that the aforementioned judgment was later reversed on appeal. It is admitted that Mr.

   Lucky filed two notices of lis pendens. It is admitted that Mr. Lucky filed “W. A. Lucky, III vs.

   Barbara Marie Carey Lollar, et al.,” number 155,382; Section A (“Lucky II”) in the State Court

   seeking a judgment that the Credit Sale Deed with Vendor’s Lien and Special Mortgage, and the

   Exchange Deed, with Assumption of Mortgage, and the ostensible transfers of the property

   described therein were null, void, and of no effect. Otherwise, the allegations of paragraph 6 of

   the Second Amended Complaint are either not allegations of fact that require an answer or are

   denied.

             7.   Mr. Lucky admits that Mr. Lollar made the Note, Exhibit A, which is the best

   evidence of its contents and, on its face, is payable to Ms. Lollar or her order in the principal

   amount of $1,730,000.00 in installments and a balloon payment. It is admitted that a copy of the

   Note is attached as Exhibit A to the Second Amended Complaint. Mr. Lucky denies the

   allegations of paragraph 7 of the Second Amended Complaint to the extent that they are

   inconsistent with the foregoing.

             8.   It is admitted that on November 2, 2017, Ms. Lollar and Mr. Lollar executed the

   Credit Sale Deed with Vendor’s Lien and Special Mortgage, a copy of which is attached as

   Exhibit B to the Second Amended Complaint, which is the best evidence of its contents and

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   which was recorded in the conveyance and mortgage records of Bossier Parish, Louisiana, and

   which secures the payment of the Note. Otherwise, the allegations of paragraph 8 of the Second

   Amended Complaint are denied.

          9.      The allegations of paragraph 9 of the Second Amended Complaint are denied for

   lack of sufficient information to form a belief as to the truthfulness thereof.

          10.     It is admitted that on November 2, 2017, Mr. Lollar and Magnolia executed the

   Exchange Deed, with Assumption of Mortgage, a copy of which is attached as Exhibit C to the

   Second Amended Complaint, which is the best evidence of its contents and which was recorded

   in the conveyance and mortgage records of Bossier Parish, Louisiana. It is admitted that the

   Exchange Deed, with Assumption of Mortgage on its face conveyed the property described

   therein to Magnolia. Otherwise, the allegations of paragraph 10 of the Second Amended

   Complaint are denied.

          11.     It is admitted that Mr. Lucky is licensed as a real estate broker. It is admitted that

   Mr. Lucky filed the original petition in the lawsuit referred to as Lucky I on September 10, 2008,

   seeking monetary damages for Ms. Lollar’s breach of her fiduciary duties to Mr. Lucky. It is

   admitted that a trial was held on beginning on August 28, 2017. That trial was concluded on

   August 30, 2017, and a briefing schedule was established such that the case would be deemed

   submitted for a decision on November 3, 2017. Further answering, on December 19, 2017, the

   State Court rendered its Opinion in Lucky I. On January 5, 2018, the State Court signed a

   Judgment on its Opinion in favor of Mr. Lucky and against Ms. Lollar in the principal amount of

   $1,799,450.52, plus judicial interest on the aforesaid amount from the date of judicial demand

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   until paid in full and all costs associated with the proceedings. It is admitted that a copy of the

   judgment is attached as Exhibit D to the Second Amended Complaint. It is admitted that the

   judgment was reversed on January 16, 2019, as set forth in Exhibit D-2, and that the Louisiana

   Supreme Court denied Mr. Lucky’s writ application as set forth in Exhibit D-3. Mr. Lucky

   otherwise denies the allegations of paragraph 11 of the Second Amended Complaint and denies

   the allegations of paragraph 11 of the Second Amended Complaint to the extent that they are

   inconsistent with the foregoing.

          12.     The allegations of paragraph 12 are denied. Further answering, in Lucky I, Mr.

   Lucky had sought a judgment for monetary damages, and the State Court ruled in his favor. It is

   admitted that Mr. Lucky had previously desired to purchase the “Mortgaged Property,” but that

   Ms. Lollar purchased it for herself in breach of her fiduciary duties to Mr. Lucky and the

   relationship of trust and confidence that she had with him.

          13.     It is admitted that the Notice of Lis Pendens, a copy of which is attached as

   Exhibit E to the Second Amended Complaint and which is referred to as the 2017 Lis Pendens,

   was filed on December 11, 2017, in the mortgage records of Bossier Parish, Louisiana. It is

   admitted that the 2017 Lis Pendens is the best evidence of its contents. Otherwise, the allegations

   of paragraph 13 of the Second Amended Complaint are denied.

          14.     It is admitted that the Judgment in Lucky I was rendered on December 19, 2017,

   and signed and filed on January 5, 2018, and that the 2017 Lis Pendens was recorded on

   December 11, 2017. Otherwise, the allegations of paragraph 14 of the Second Amended

   Complaint are denied. Further answering, Mr. Lucky alleges that:

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         A.    On January 5, 2018, the State Court signed a Judgment in Lucky I on its Opinion.
               The Judgment in Lucky I was signed in favor of Mr. Lucky and against Ms.
               Lollar in the principal amount of $1,799,450.52, plus judicial interest on the
               aforesaid amount from the date of judicial demand until paid in full and all costs
               associated with the proceeding in Lucky I.

         B.    However, immediately before the completion of the briefing schedule in Lucky I,
               and during the period of October 2, 2017, through November 2, 2017, Ms. Lollar
               acted with Mr. Lollar and Magnolia as set forth hereinafter.

         C.    On October 30, 2017, Mr. Lollar formed Magnolia, a Louisiana limited liability
               company. Mr. Lollar acted with the full knowledge of, and in conspiracy with,
               Ms. Lollar. It is obvious that Mr. Lollar acted with the full knowledge of and in
               conspiracy with Ms. Lollar because:

               (1)    Magnolia was formed on October 30, 2017, the date of the final week of
                      the briefing ordered in Lucky I;

               (2)    Magnolia was formed with Ms. Lollar’s attorney in Lucky I and in this
                      federal civil action, Mr. J. Davis Powell (“Mr. Powell”), acting as the
                      registered agent for Magnolia;

               (3)    Magnolia was formed with its registered office address being designated
                      as the office address of Ms. Lollar’s attorney in Lucky I and in this federal
                      civil action, Mr. Powell; and

               (4)    Ivy E. M. Johnson, who is the notary public who notarized Mr. Powell’s
                      signature on the documents filed with the Louisiana Secretary of State to
                      form Magnolia, also works in and has her official address with the
                      Louisiana Secretary of State as the office address of Ms. Lollar’s attorney
                      in Lucky I and in this federal civil action, Mr. Powell.

         D.    On November 2, 2017, Ms. Lollar and Mr. Lollar executed the Credit Sale Deed
               with Vendor’s Lien and Special Mortgage, Exhibit B to the Second Amended
               Complaint. The property described in the Credit Sale Deed with Vendor’s Lien
               and Special Mortgage is the property which was the subject of Ms. Lollar’s
               breach of her duties to Mr. Lucky as his mandatary/agent and fiduciary on
               account of which Lucky I was filed. The Credit Sale Deed with Vendor’s Lien
               and Special Mortgage was executed immediately before Lucky I was to be
               deemed under advisement for a decision by the State Court. The Credit Sale
               Deed with Vendor’s Lien and Special Mortgage” was executed before Ms.
               Lollar’s attorney in Lucky I and in this federal civil action, Mr. Powell, who acted

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               as a notary public, and Ivy E. M. Johnson, another notary public in Mr. Powell’s
               office. The Credit Sale Deed with Vendor’s Lien and Special Mortgage was
               recorded in the conveyance and mortgage records of Bossier Parish, Louisiana,
               immediately before Lucky I was deemed to be under advisement.

         E.    On November 2, 2017, Mr. Lollar and Magnolia executed a document titled
               Exchange Deed, with Assumption of Mortgage, Exhibit C to the Second Amended
               Complaint. The property described in the Exchange Deed, with Assumption of
               Mortgage is also the property which was the subject of Ms. Lollar’s breach of her
               duties to Mr. Lucky as his mandatary/agent and fiduciary on account of which
               Lucky I was filed. The Exchange Deed, with Assumption of Mortgage was also
               executed immediately before Lucky I was to be deemed under advisement in
               the State Court for a decision. The Exchange Deed, with Assumption of
               Mortgage was also executed before Ms. Lollar’s attorney in Lucky I, Mr. Powell,
               who acted as a notary public, and Ivy E. M. Johnson, another notary public in Mr.
               Powell’s office. The Exchange Deed, with Assumption of Mortgage was recorded
               in the conveyance and mortgage records of Bossier Parish, Louisiana,
               immediately before Lucky I was deemed to be under advisement for a
               decision by the State Court.

         F.    On November 2, 2017, Mr. Lollar and Ms. Lollar executed a Declaration
               Regarding Reservation of Fruits and Revenues. The company described in the
               Declaration Regarding Reservation of Fruits and Revenues is Magnolia, the
               limited liability company formed by Mr. Lollar acting in conspiracy with Ms.
               Lollar. The Declaration Regarding Reservation of Fruits and Revenues was also
               executed immediately before Lucky I was to be deemed under advisement for
               a decision by the State Court. The Declaration Regarding Reservation of Fruits
               and Revenues was also executed before Ms. Lollar’s attorney in Lucky I, Mr.
               Powell, who acted as a notary public, and Ivy E. M. Johnson, another notary
               public in Mr. Powell’s office. The Declaration Regarding Reservation of Fruits
               and Revenues was recorded in the conveyance and mortgage records of Bossier
               Parish, Louisiana, immediately before Lucky I was deemed to be under
               advisement.

         G.    Ms. Lollar’s, Mr. Lollar’s, and Magnolia’s formation of Magnolia, and their
               execution and recording of the Credit Sale Deed with Vendor’s Lien and Special
               Mortgage, the Exchange Deed, with Assumption of Mortgage, and the
               Declaration Regarding Reservation of Fruits and Revenues, were all acts by
               which Ms. Lollar, acting in concert with Mr. Lollar and Magnolia, sought to
               thwart or frustrate Mr. Lucky’s rights to obtain and enforce collection of a
               judgment in Lucky I by moving property and title to property out of Ms. Lollar’s
               name. Mr. Lucky’s rights and remedies in Lucky I, included not only the right to

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                  obtain a judgment against Ms. Lollar, but also his legal remedies to enforce his
                  substantive rights, including the right to collect the judgment ultimately rendered
                  in his favor. Ms. Lollar’s, Mr. Lollar’s, and Magnolia’s actions were obviously
                  intentional or willful, were the result of a conspiracy among them, and were
                  designed at the time to damage Mr. Lucky.

          H.      Further, it appeared obvious that the supposed transfers and transactions were
                  illicit and made by a debtor (Ms. Lollar) to conceal property from her creditor
                  (Mr. Lucky). It was obvious that Ms. Lollar had never before transferred the
                  property to Mr. Lollar in all the years that the property had been in her name or
                  during all the years in which Lucky I was pending. Ms. Lollar only did so on the
                  eve of the State Court’s taking Lucky I under advisement to render a decision
                  therein. It is obvious that Ms. Lollar knew and anticipated that a judgment
                  would soon be rendered against her in Lucky I. It was after the conclusion of
                  the trial of Lucky I in the State Court that Ms. Lollar suggested to Mr. Lollar that
                  she transfer property out of her name to Mr. Lollar. The entire transaction was
                  obviously designed with the assistance of Ms. Lollar’s attorneys who participated
                  therein. Mr. Lollar, Ms. Lollar, and their attorneys executed the documents to do
                  so during the evening hours.

          15.     It is admitted that, after the Judgment was signed in Lucky I, Mr. Lucky filed

   Lucky II seeking a judgment that the Credit Sale Deed with Vendor’s Lien and Special

   Mortgage, and the Exchange Deed, with Assumption of Mortgage, and the ostensible transfers of

   the property described therein were null, void, and of no effect. It is admitted that Mr. Lucky had

   standing to make those claims as a judgment creditor of Ms. Lollar. Otherwise, the allegations of

   paragraph 15 are denied.

          16.     It is admitted that the notice of lis pendens, a copy of which is attached as Exhibit

   F to the Second Amended Complaint and which is referred to as the 2018 Lis Pendens, was filed

   on February 20, 2018, in the mortgage records of Bossier Parish, Louisiana. It is admitted that

   the 2018 Lis Pendens is the best evidence of its contents. Otherwise, the allegations of paragraph

   16 of the Second Amended Complaint are denied.


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             17.   It is admitted that Mr. Lucky dismissed his claims in Lucky II after the Judgment

   in Lucky I had been reversed. It is admitted that both the reversal of the State Court’s Judgment

   in Lucky I and the dismissal of Mr. Lucky’s claims in Lucky II were after the Note had been sold

   at the sheriff’s sale.

             18.   The allegations of paragraph 18 of the Second Amended Complaint are denied.

             19.   It is admitted that on May 31, 2018, Mr. Lucky filed an Ex Parte Motion for

   Production of Property and Alternative Motion for Contempt, which is the best evidence of its

   contents, in Lucky I, and that a writ of fieri facias was issued to enforce the Judgment that had

   been rendered in Mr. Lucky’s favor and which was lawfully subject to being enforced by

   execution. It is admitted that Mr. Lucky prayed for an order directing Ms. Lollar to deliver the

   Note to the Bossier Parish sheriff as provided by law. It is admitted that a devolutive appeal was

   then pending. Otherwise, the allegations of paragraph 19 of the Second Amended Complaint are

   denied.

             20.   The allegations of paragraph 20 of the Second Amended Complaint are admitted.

             21.   It is admitted that Mr. Lucky also filed a Motion to Examine Judgment Debtor

   and for Discovery Concerning Judgment Debtor on May 31, 2018, as he was lawfully entitled to

   do to enforce the Judgment in Lucky I from which no suspensive appeal had been taken. It is

   admitted that Mr. Lucky requested the issuance of a writ of fieri facias in the aforementioned

   motion and the production of certain documents listed therein for discovery and for the purposes

   set forth in that motion.




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          22.     It is admitted that the State Court signed the order on the Motion to Examine

   Judgment Debtor and for Discovery Concerning Judgment Debtor without a contradictory

   hearing. Further answering, the State Court’s signing of the order was entirely lawful.

          23.     It is admitted that Mr. Lucky requested a subpoena duces tecum for the original

   Note to be produced in court on July 5, 2019, which was served on Ms. Lollar through her

   attorney, and that the hearing set by the State Court on the issue whether the Note could be

   seized was still pending. Otherwise, the allegations of paragraph 23 are denied.

          24.     The allegations of paragraph 24 are denied. Further answering, a judgment for the

   payment of money may be executed by a writ of fieri facias directing the seizure and sale of

   property of the judgment debtor. La. Code Civ. Proc. 2291. Further, “[a]t the request of a

   judgment creditor, the clerk shall issue a writ bearing his signature, the seal of the court, and the

   date, and directing the sheriff of the parish where the judgment is to be executed to enforce it in

   the manner set forth in the writ.” La. Code Civ. Proc. 2253. There is no requirement that that

   there be any hearing before the Clerk of Court issues the writ of fieri facias, and there is no

   requirement that the judgment debtor be notified of the issuance of a writ of fieri facias. What the

   judgment debtor receives is a written notice of the seizure made by the sheriff of property. La.

   Code Civ. Proc. 2293 ¶ B. Further, Ms. Lollar, the judgment debtor, was served through her

   attorney of record, with a copy of the court’s order that a writ of fieri facias be issued. It is,

   therefore, flat wrong for Ms. Lollar to claim that she did not know that a writ of fieri facias had

   been issued.




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          25.     It is admitted that there was a hearing on July 5, 2018, on the aforementioned Ex

   Parte Motion for Production of Property and Alternative Motion for Contempt, and that Ms.

   Lollar’s attorneys brought the Note to court. It is admitted that the State Court ruled that the Note

   be seized as requested by Mr. Lucky, and that counsel for Ms. Lollar delivered the Note to the

   Sheriff. Further answering, the State Court’s ruling was never appealed by Ms. Lollar. Any other

   allegations of paragraph 25 of the Second Amended Complaint are denied.

          26.     Under Louisiana Code of Civil Procedure article 1354 “[a] subpoena may order a

   person to appear and produce at the trial, deposition, or hearing, books, papers, documents, any

   other tangible things, or electronically stored information, in his possession or under his control,

   if a reasonably accurate description thereof is given.” A subpoena duces tecum may be issued for

   a person to produce documents for inspection and may be issued for the production of documents

   at a hearing including a judgment debtor’s examination. There is no restriction that a subpoena

   may only be issued in “ordinary proceedings.” The subpoena was issued for Ms. Lollar to bring

   the Note with her to court as there were proceedings pending concerning the Note. In any event,

   the Judge’s ruling on the Ex Parte Motion for Production of Property and Alternative Motion for

   Contempt required that Ms. Lollar produce the Note to be seized by the Sheriff. Any other

   allegations of paragraph 26 of the Second Amended Complaint are denied.

          27.     The allegations of paragraph 27 are denied for lack of sufficient information to

   form a belief as to the truthfulness thereof.

          28.     It is admitted that the Notice of Seizure, which is attached to the Second

   Amended Complaint as Exhibit H, was issued and served upon Ms. Lollar by the Sheriff through

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   her attorney, which was entirely proper. That Notice of Seizure is the best evidence of its

   contents. In any event, It is admitted that the Sheriff was requested to proceed to a sale of the

   Note. Any other allegations of paragraph 28 of the Second Amended Complaint are denied.

          29.       It is admitted that the Sheriff served notice on Mr. Lucky and Ms. Lollar as

   required by law. That is the way the law works. Any allegations of Paragraph 29 of the Second

   Amended Complaint to the contrary are denied. Further answering, Louisiana Revised Statutes

   13:4363 reads:

                 A. Not less than seven days, exclusive of holidays, before the sale of
          seized property, the sheriff shall serve written notice on the debtor and on the
          seizing creditor, in the manner provided for the service of a citation, directing
          each to name an appraiser to value the property and to notify the sheriff of his
          appointment prior to the time stated in the notice, which shall be at least four
          days, exclusive of holidays, prior to the time of the sale. The appraisal of the
          debtor and seizing creditor shall be made and delivered to the sheriff at least two
          days, exclusive of holidays, prior to the time of the sale.

                  B. If there are two or more debtors or seizing creditors and these parties
          cannot agree as to which should act as or appoint an appraiser, and in any case
          where an appraisal is required prior to the judicial sale and which is not otherwise
          provided for in this Section, on the ex parte application of the sheriff or of any
          interested party, the court shall designate the party to act as or appoint the
          appraiser, and the notice required by Sub-section A of this Section shall be served
          on the party so designated.

   (Emphasis added). The debtor was Ms. Lollar, and the seizing creditor was Mr. Lucky.

   Therefore, the Sheriff acted in full compliance with the law. On October 22, 2018, just two days

   before the sheriff’s sale, Mr. Powell, plaintiffs’ counsel who is also the registered agent for

   service of process for Magnolia and who participated in the actions described in answer above to

   paragraph 14 of the Second Amended Complaint above, filed a Petition for Preliminary

   Injunctive Relief with the State Court in Lucky I in a last-minute effort to stop or stall the
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   sheriff’s sale although no suspensive appeal had been taken from the Judgment in Lucky I. When

   that untimely last-minute effort failed, Mr. Powell attended the sheriff sale conducted on October

   24, 2018. Both Ms. Lollar (through her attorney Mr. Powell) and Magnolia (through its

   registered agent Mr. Powell) received and had actual notice of the October 24, 2018, sheriff sale.

   Further answering, the Petition for Preliminary Injunctive Relief was legally deficient in any

   event. Even further, Magnolia was not entitled to notice of the sheriff sale because (a) Magnolia

   had no property interest in the Note, and (b) Louisiana Revised Statutes 13:4363 did not require

   Magnolia to be served.

          30.     It is admitted that the Notice of Seizure was issued and served upon Ms. Lollar by

   the Sheriff and notified Ms. Lollar to appoint an appraiser by October 19, 2018. It is the best

   evidence of its contents. Further answering, for a sale date of October 24, 2018, a deadline for

   appraisals by the parties of October 19, 2018, was in full compliance with state law. Paragraph

   (A) of Louisiana Revised Statutes 13:4363 quoted in answer to paragraph 18 supra reads, in part:

   “The appraisal of the debtor and seizing creditor shall be made and delivered to the sheriff at

   least two days, exclusive of holidays, prior to the time of the sale.”           (Emphasis added).

   Saturdays and Sundays are legal holidays. See La. R.R. 1:55(E)(3); La. Code Civ. Proc. art.

   5059. With a sheriff’s sale scheduled for a Wednesday (October 24, 2018), for an appraisal to be

   delivered at least two days, exclusive of holidays, prior to the time of the sale, the latest deadline

   that could be established was the preceding Friday (October 19, 2018). Therefore, Ms. Lollar

   was provided all of the time to which she could claim she was entitled to submit an appraisal,

   and on October 18, 2018, an appraisal was submitted for her. Further, the Louisiana Supreme

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   Court has written with respect to Louisiana Revised Statutes 13:4363: “A review of the

   foregoing statutes reveals that R.S. 13:4363 was designed to benefit the sheriff whose duty it is

   to conduct the judicial sale. The primary purpose of the two day requirement is to provide the

   sheriff with sufficient time to appoint a third appraiser in those cases where the parties'

   appraisers do not agree on valuation and the variance between their values is outside the

   statutory limit fixed by R.S. 13:4365(B).” Williams v. Perkins-Siegen Partnership, 93-2131, p.7

   (La. 1/27/95), 649 So.2d 367, 371. Any allegations of paragraph 30 of the Second Amended

   Complaint to the contrary are denied.

             31.   It is admitted that Mr. Chad Garland was appointed to appraise the Note for Mr.

   Lucky, and he appraised the Note as having a value of $173,000 as set forth on the Appraisement

   Sheet which is Exhibit I to the Second Amended Complaint. It is denied that no written appraisal

   was kept on file by the Sheriff for Mr. Garland's appraisal amount. The Appraisement Sheet

   signed by Mr. Garland is a written appraisal by Mr. Garland and was received by the Sheriff.

   Any other allegations of paragraph 31 of the Second Amended Complaint to the contrary are

   denied.

             32.   It is admitted that Ms. Lollar appointed John Dean to appraise the Note for her,

   and he appraised the Note as having a value of $1,478,048.68 as set forth on the Appraisement

   Sheet which is Exhibit J to the Second Amended Complaint and which is a single two-page

   document.

             33.   It is admitted that Louisiana Revised Statutes 13:4365(B) reads as quoted. It is

   admitted that because the difference in value between the appraisals by Mr. Garland and Mr.

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   Dean mathematically exceeded two hundred and fifty thousand dollars, and the value assigned

   by Mr. Garland was not at least ninety percent of the value assigned by Mr. Dean, Louisiana

   Revised Statutes 13:4365(B) required that the Sheriff appoint a third appraiser whose decision

   the law provides shall be final. Any allegations of paragraph 33 of the Second Amended

   Complaint to the contrary are denied

          34.    It is admitted that the Sheriff in fact appointed Mr. Patrick Lacour as the third

   appraiser in accordance with Louisiana Revised Statutes 13:4365(B). Any other allegations of

   paragraph 34 of the Second Amended Complaint are denied.

          35.    It is admitted that Mr. Lucky’s counsel wrote the letter, Exhibit K, to Mr. Lacour

   on October 10, 2018, and that it was not then known whether a third appraiser would be

   appointed.

          36.    It is admitted that the letter, Exhibit K reads:

          Mr. Patrick Lacour
          Whitehall Advisors, LLC
          3820A Bayou Rapides Rd.
          Alexandria, LA 71303

          Re:    Appraisal of Promissory Note

                 W. A. Lucky, III versus Barbara Marie Carey Carr, number 127,573 in the
                 26th Judicial District Court, Bossier Parish, Louisiana, Section F

          Dear Patrick:

                  I intend to provide the Bossier Parish Sheriff your name and contact
          number as a person who can appraise a promissory note for the sheriff for the
          sheriff’s sale in the above referenced lawsuit. The sheriff’s sale is scheduled for
          Wednesday, October 24, 2018, at 10:00 a.m. Each of the plaintiff and defendant
          will submit an appraisal. If the appraisers do not agree and their appraisals cannot

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         be averaged under Louisiana Revised Statutes 13:4365 as set forth hereinafter, the
         Sheriff will need to appoint a third appraiser to appraise the note. In those cases
         where the two appraisers do not agree and the values are not within the averaging
         limits, the Sheriff appoints a third appraiser, and the decision of the third
         appraiser shall be final.

                 If the sheriff elects to appoint you as a third appraiser, you will not be
         acting for either the plaintiff or the defendant to appraise the promissory note. If
         you are appointed, you will be the Sheriff’s appraiser. In fact, it will not matter
         whether the payment of your fees or expenses are paid by the plaintiff or the
         defendant. In fact, when a judgment is enforced by a seizure of property and its
         sale, the Sheriff will require the plaintiff to advance funds to cover the costs
         incurred by the Sheriff in conducting the process. The law then provides the
         manner in which the plaintiff may recover those costs from the sale of the
         property by the Sheriff. Regardless of any requirement that the plaintiff, in this
         case W. A. Lucky, III, advance funds to cover the costs incurred by the Sheriff,
         you will still be the Sheriff’s appraiser.

                The process is set forth in Louisiana Revised Statutes 13:4363
         and13:4365.

                Louisiana Revised Statutes 13:4363 reads:

                        A. Not less than seven days, exclusive of holidays, before
                the sale of seized property, the sheriff shall serve written notice on
                the debtor and on the seizing creditor, in the manner provided for
                the service of a citation, directing each to name an appraiser to
                value the property and to notify the sheriff of his appointment prior
                to the time stated in the notice, which shall be at least four days,
                exclusive of holidays, prior to the time of the sale. The appraisal
                of the debtor and seizing creditor shall be made and delivered to
                the sheriff at least two days, exclusive of holidays, prior to the time
                of the sale.

                        B. If there are two or more debtors or seizing creditors and
                these parties cannot agree as to which should act as or appoint an
                appraiser, and in any case where an appraisal is required prior to
                the judicial sale and which is not otherwise provided for in this
                Section, on the ex parte application of the sheriff or of any
                interested party, the court shall designate the party to act as or



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                appoint the appraiser, and the notice required by Sub-section A of
                this Section shall be served on the party so designated.

                 The Sheriff has already served the written notice on the debtor and on the
         seizing creditor, directing each to name an appraiser. I have already notified the
         Bossier Parish Sheriff of the plaintiff’s appointment of Mr. Chad M. Garland to
         do the appraisal of the promissory note for the plaintiff. Mr. Garland’s credentials
         include, among others, an ABV accreditation and CVA designation.

                I am informed that the defendant has notified the Sheriff of the
         appointment of Mr. John Dean of Business Valuation Consultants of Shreveport
         to appraise for the defendant. I am also aware that Mr. Dean has an ABV
         accreditation and CVA designation.

                  While I am hopeful that the two appraisers will agree on the value of the
         promissory note, I recognize the possibility that they will not. Because the
         defendant’s appraisal is could be required to be submitted as late as October 19,
         2018, that could result in a third appraisal being needed by the following Monday
         or Tuesday, October 22, 2018, or October 23, 2018. Because of this possible time
         crunch, I thought I would provide you with relevant information in advance so
         that, if you are appointed, you will be able to meet the short time delay that you
         would have to appraise for the Sheriff.

                Louisiana Revised Statutes 13:4365 reads:

                       A. The appraisers shall take an oath to make a true and just
                appraisal of the property.

                        B. If the appraisers cannot agree, and (1) the difference in
                value between the two appraisals does not exceed two hundred and
                fifty thousand dollars, and (2) the value assigned by the lower of
                the two appraisers is at least ninety percent of the value assigned
                by the higher of the two appraisers, then the sheriff shall average
                the two figures and use the average as the appraised value for
                purposes of determining the opening bid. In those cases where the
                two appraisers do not agree and the values are not within the
                averaging limits, then the sheriff shall appoint a third appraiser,
                who shall also be sworn, and whose decision shall be final.

                      C. The property seized must be appraised with such
                minuteness that it can be sold together or separately.


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                         D. The appraisers shall reduce their appraisal to writing,
                sign it, and deliver it to the sheriff.

                        E. The appraisal of any appraiser appointed by the sheriff
                shall be made and delivered to the sheriff at a time prior to the sale.

                 The parts of the statute which will apply to you are paragraphs A and D. I
         will need you to do two things. The first is to take an oath to make a true and just
         appraisal of the property, in this case, the promissory note. The second is to
         appraisers shall reduce their appraisal to writing, sign it, and deliver it to the
         sheriff. The requirement that the appraisal be reduced to writing is not a
         requirement for any extensive appraisal report. It is a requirement that the
         appraisal amount be reduced to writing.

                  I am sending two documents with this letter to illustrate the process. The
         first is titled “Oath of Appraiser.” If you are appointed, you will need you to
         execute that before a Notary and get the original to the sheriff by the appraisal
         deadline.

                 The second document is the appraisement sheet that you will sign and
         provide to the sheriff’s office. As you can see, what are required are a signature
         and a figure for the appraised value. That is all of the detail the sheriff will
         require.

                Background

                 Here is some background that I think you will find to be helpful to this
         potential task.

                 As we discussed, our client, Mr. W.A. Lucky, III (“Mr. Lucky”) has a
         judgment in the above referenced lawsuit against Barbara Marie Carey Lollar
         a/k/a f/k/a Barbara Marie Carey Carr (“Ms. Lollar”). The judgment is in the
         amount of One Million, Seven Hundred Ninety-Nine Thousand, Four Hundred
         Fifty And 52/100 Dollars ($1,799,450.52), plus judicial interest on the aforesaid
         amount from the date of judicial demand until paid in full and all costs associated
         with the proceeding. In this letter, I will call the above referenced lawsuit “Lucky-
         Carr I.”

               The property that is to be offered at a sheriff’s sale in Lucky-Carr I on
         October 24, 2018, is a promissory note, which is described as follows:




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                That certain original promissory note dated November 2, 2017
                made by Ronald William Lollar payable to Barbara Marie Carey
                Carr Lollar or her order in the principal amount of One Million
                Seven Hundred Thirty Thousand and No/100ths Dollars
                ($1,730,000.00) plus interest thereon at the rate of four percent
                (4.0%) per annum until paid, payable in four (4) consecutive
                annual installments of $100,046.00, the first such installment being
                due and payable on November 1, 2018, and a final balloon
                payment equal to all remaining principal and interest then due
                hereunder, due and payable on November 1, 2022.

                The aforementioned promissory note is ostensibly secured under a “Credit
         Sale Deed with Vendor’s Lien and Special Mortgage.” A copy of this Credit Sale
         Deed with Vendor’s Lien and Special Mortgage is being sent with this letter.

                 The circumstances under which the promissory note and the Credit Sale
         Deed with Vendor’s Lien and Special Mortgage were executed by Mr. Ronald
         William Lollar are described in the petition filed in a second lawsuit which is
         pending as “W. A. Lucky, III versus Barbara Marie Carey Lollar, Ronald William
         Lollar, Tributary Properties, L.L.C., and Magnolia Island Plantation, L.L.C.,” case
         number 155,382-A in the 26th Judicial District Court for Bossier Parish,
         Louisiana. This lawsuit is the second lawsuit by our client, Mr. Lucky, against
         Ms. Lollar. I will refer to it as “Lucky-Carr II.” I am including a copy of the
         petition filed in Lucky-Carr II.

                Lucky-Carr II was filed because of the attempt by Ms. Lollar to place the
         immovable property (real estate) described in the Credit Sale Deed with Vendor’s
         Lien and Special Mortgage out of her name. Ms. Lollar transferred the property
         into Mr. Ronald William Lollar’s name so that the judgment obtained by Mr.
         Lucky could not be collected by having the Sheriff seize and sell the real
         property. (Mr. Lollar is Ms. Lollar’s husband, but we understand that they are
         separate in property.)

                 We caught onto Ms. Lollar’s scam, and we filed Lucky-Carr II. We also
         filed a notice of lis pendens against the immovable property (real estate) so that
         third parties would clearly be on notice of Ms. Lollar and her husband’s misdeeds.
         We believe that the notice of lis pendens makes the claims in the second lawsuit
         effective against the immovable property (real estate). A copy of the notice of lis
         pendens is being sent with this letter.




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                 An overview of the claims made in Lucky-Carr II is that, while Judge A.
         Parker Self, was receiving briefs and considering his ruling in Lucky-Carr I, Ms.
         Lollar executed the note and the Credit Sale Deed with Vendor’s Lien and Special
         Mortgage. (Ms. Lollar took action to put other property out of her name, but here
         we are concerned with this promissory note scheme.)

                  Ms. Lollar had held the property that she transferred to her husband in her
         name since 2003. Ms. Lollar held the property in her name all the way through the
         trial in Lucky-Carr I. It is obvious that she knew that Judge Self was going to rule
         against her in Lucky-Carr I. She was not truthful in her testimony. Ms. Lollar
         knew that a judgment was coming. I am including a copy of Judge Self’s Opinion
         in Lucky-Carr I under which the judgment was rendered.

                As you can see from the petition in Lucky-Carr II, Ms. Lollar, aided and
         abetted by her lawyers who had unsuccessfully defended Lucky-Carr I, prepared
         and executed the Credit Sale Deed with Vendor’s Lien and Special Mortgage. It
         was executed/notarized in her lawyers’ office.

                The claims made in Lucky-Carr II include that:

                (a)     Ms. Lollar’s acts (and the acts of the other defendants) were in
                        furtherance of Ms. Lollar’s breach of her duties as mandatary and
                        fiduciary and by which Ms. Lollar, acting in concert with the other
                        defendants, sought to thwart or frustrate Mr. Lucky’s rights to
                        obtain and enforce collection of the judgment in Lucky-Carr I.

                (b)     Ms. Lollar’s, her husband Ronald’s, and the other defendants’
                        actions were obviously intentional or willful, were the result of a
                        conspiracy among them, and were designed to damage Mr. Lucky.

                (c)     The Credit Sale Deed with Vendor’s Lien and Special Mortgage is
                        null, void, and of no effect whatsoever as a simulation.

                (d)     The supposed transfer was illicit and made by a debtor (Ms. Lollar)
                        to conceal property from her creditor (Mr. Lucky).

                (e)     Ms. Lollar had never before transferred the property to her
                        husband Ronald in all the years that the property had been in her
                        name or during all the years in which Lucky-Carr I was pending.
                        Ms. Lollar only did so on the eve of the Court’s taking Lucky-Carr
                        I under advisement to render a decision therein. It is obvious that


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                        Lollar knew and anticipated that her wrongful conduct would soon
                        result in a judgment against her in Lucky-Carr I.

                (f)     Further, from Ms. Lollar’s complete lack of credibility at the trial
                        on the merits in Lucky-Carr I, it must be concluded that no actual
                        transfer of the property from Lollar was actually intended by the
                        Credit Sale Deed with Vendor’s Lien and Special Mortgage.
                        Instead, the entire transaction is a sham obviously designed with
                        the assistance of Ms. Lollar’s attorneys.

                (g)     In the alternative, if and to the extent that the Credit Sale Deed
                        with Vendor’s Lien and Special Mortgage is not null, void, and of
                        no effect whatsoever as a simulation, then it is subject to
                        revocation for the reason that the ostensible transfer represented
                        thereby caused or increased Ms. Lollar’s insolvency rendering
                        same subject to revocation under Louisiana Civil Code articles
                        Louisiana Civil Code article 2037, et seq.

                (h)     In the further alternative, the Credit Sale Deed with Vendor’s Lien
                        and Special Mortgage is an act of fraud and must be rescinded.

                 I believe that you can evaluate the merits of the lawsuit filed as Lucky-
         Carr II when you look over the petition. The defendants have already tried to have
         the petition in Lucky-Carr II dismissed, and the Court has already ruled against
         them. I am sending a copy of that ruling, which was made by Judge Michael
         Craig. We are going to press forward with Lucky-Carr II to a trial and judgment.
         Mr. Lucky is resolute and unwavering, and he will pursue Lucky-Carr II to a
         conclusion.

                 Although the property to be appraised and to be offered at the Sheriff’s
         sale in Lucky-Carr I on October 24, 2018, is the promissory note, I am also
         sending an appraisal of the real property that Ms. Lollar transferred by the Credit
         Sale Deed with Vendor’s Lien and Special Mortgage. The appraisal indicates that
         the property has a value of $4,000 per acre. The property that Ms. Lollar
         transferred was 280 acres, which would, therefore, have a value of $1,120,000.00.
         Nevertheless, what is relevant here is that the value of the promissory note must
         be determined based on the fact that a person who buys it will do so subject to the
         claims made against the property in Lucky-Carr II, which are protected by a lis
         pendens.




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                   Finally, I am sending a copy of the opinion of Coutret and Associates
          about the value of the mineral interest in the land. You will notice from Judge
          Self’s ruling that he thought that it would be speculative to include an amount in
          his award for the value of the minerals to which Mr. McGowen testified. Like the
          land, it is not really the minerals that are to be appraised in this case, it is the
          promissory note. But, I wanted to include Coutret and Associates’ opinion with
          this letter so that your information would be complete.

                 If you have any questions, please do not hesitate to call.

   Otherwise, the allegations of paragraph 36 of the Second Amended Complaint are denied.

          37.    It is admitted that the letter, Exhibit K, reads as set forth in answer to paragraph

   36 of the Second Amended Complaint. Otherwise, the allegations of paragraph 37 of the Second

   Amended Complaint are denied.

          38.    It is admitted that the letter, Exhibit K, reads as set forth in answer to paragraph

   36 of the Second Amended Complaint. Further answering, nothing in the letter says that the

   Judgment in favor of Mr. Lucky granted rights in the Mortgaged Property. Otherwise, the

   allegations of paragraph 38 of the Second Amended Complaint are denied.

          39.    It is admitted that the letter, Exhibit K, was drafted by Mr. Shelton while he was

   acting as attorney for Mr. Lucky. Otherwise, the allegations of paragraph 39 of the Second

   Amended Complaint are denied.

          40.    It is admitted that the Sheriff himself had no communication with Mr. Lacour.

   Defendant believes that Ms. Flournoy furnished a description of the Note. The Sheriff and his

   deputies, including Ms. Flournoy, performed all of their lawful statutory duties. The allegations

   of paragraph 40 of the Second Amended Complaint to the contrary are conclusory and/or

   argumentative allegations without specific facts. Such conclusory allegations without specific

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   facts are insufficient and do not require an answer. Out of an abundance of caution, all such

   conclusory allegations are denied. The allegations of paragraph 40 of the Second Amended

   Complaint are otherwise denied.

             41.   It is admitted that Mr. Lacour did not look at the physical Note. Further

   answering, Mr. Lacour knew all of the relevant terms of the Note, including its amount, interest

   rate, and payment terms. The allegations of paragraph 41 of the Second Amended Complaint are

   otherwise denied.

             42.   The allegations of paragraph 42 of the Second Amended Complaint are denied.

             43.   The allegations of paragraph 43 of the Second Amended Complaint to the

   contrary are conclusory and/or argumentative allegations without specific facts. Such conclusory

   allegations without specific facts are insufficient and do not require an answer. Out of an

   abundance of caution, the allegations of paragraph 43 of the Second Amended Complaint are

   denied.

             44.   It is admitted that Mr. Lacour appraised the note at a value of $157,009.22. The

   documents that are Exhibit L, consisting of a letter, a worksheet, a curriculum vitae, and a two-

   page appraisement sheet, are the best evidence of their own contents. Any allegations of

   paragraph 44 to the contrary are denied.

             45.   The allegations of paragraph 45 of the Second Amended Complaint to the

   contrary are conclusory and/or argumentative allegations without specific facts. Such conclusory

   allegations without specific facts are insufficient and do not require an answer. Out of an

   abundance of caution, the allegations of paragraph 45 of the Second Amended Complaint are

   denied




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             46.   The allegations of paragraph 46 of the Second Amended Complaint to the

   contrary are conclusory and/or argumentative allegations without specific facts. Such conclusory

   allegations without specific facts are insufficient and do not require an answer. Out of an

   abundance of caution, Mr. Lucky denies the allegations of paragraph 46 of the Second Amended

   Complaint. Further answering, the appraisal made by Mr. Garland was dated October 5, 2018,

   which was two weeks before the October 19, 2018, deadline by which the seizing creditor’s

   appraisal was required to be submitted. Ms. Lollar’s appraisal was submitted on October 18,

   2018. Once he was appointed, Mr. Lacour submitted his appraisal on October 22, 2018.

   Paragraph E of Louisiana Revised Statutes 13:4365 reads: “The appraisal of any appraiser

   appointed by the sheriff shall be made and delivered to the sheriff at a time prior to the sale.” Mr.

   Lacour’s appraisal was made and delivered to the sheriff prior to the sale. The only things that

   the timing and amount of the appraisals by Mr. Garland and Mr. Lacour is strongly indicative of

   is that the seizing creditor, Mr. Lucky, the Sheriff, and Ms. Flournoy acted in full compliance

   with the law.

             47.   It is admitted that Mr. Garland and Mr. Lacour considered such facts as they

   deemed relevant in rendering their respective appraisers. It is admitted that Mr. Lucky has

   dismissed his claims in Lucky II and has cancelled the notices of lis pendens, which was the right

   thing to do after the judgment was reversed. Otherwise, the allegations of paragraph 47 are

   denied.

             48.   The allegations of paragraph 48 are denied.

             49.   It is admitted that on October 22, 2018, just two days before the sheriff’s sale, Mr.

   Powell, plaintiffs’ counsel who is also the registered agent for service of process for Magnolia

   and who participated in the actions described in answer above to paragraph 14 of the Second



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   Amended Complaint, filed a Petition for Preliminary Injunctive Relief with the State Court in

   Lucky I in an untimely last-minute effort to stop or stall the sheriff’s sale although no suspensive

   appeal had been taken from the Judgment in Lucky I. It is admitted that that untimely last-minute

   effort failed, and the State Court judge determined that the belated Petition for Preliminary

   Injunctive Relief was moot. Further answering, the Petition for Preliminary Injunctive Relief was

   legally deficient in any event.

          50.     It is admitted that the Note was offered at the sheriff’s sale with a minimum bid of

   two-thirds of the third and final appraisal, and that Lucky Family, L.L.C. made the highest bid of

   $105,000.00, thereby purchasing the Note. Further answering, anyone else, including either of

   Plaintiffs, who thought that the Note was worth more than $105,000.00 could have bid on it at

   the sale and purchased it   for a higher bid. Any other allegations of paragraph 50 of the Second

   Amended Complaint are denied.

          51.     It is admitted that on October 24, 2018, the Louisiana Secretary of State’s records

   indicated that Mr. Lucky was a member of Lucky Family, L.L.C. because those records had not

   been updated. It is denied that Mr. Lucky was actually a member of Lucky Family, L.L.C. on

   that date. It is denied that Lucky is a “beneficiary” of Lucky Family, L.L.C. It is denied that

   Lucky Family, L.L.C. was controlled by Mr. Lucky at any material time or used by Mr. Lucky as

   a “subterfuge” or in any manner. Further answering, Mr. Lucky owned no membership interest

   in Lucky Family, L.L.C. after November 22, 2000.

          52.     The allegations of paragraph 52 of the Second Amended Complaint to the

   contrary are conclusory and/or argumentative allegations without specific facts. Such conclusory

   allegations without specific facts are insufficient and do not require an answer. Out of an

   abundance of caution, the allegations of paragraph 52 are denied.



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          53.     It is admitted that Lucky Family, L.L.C. is entitled to enforce the Note at its face

   value and to enforce the mortgage that secures the Note pursuant to the provisions of those

   documents and Lucky Family, L.L.C.’s rights. It is denied that Mr. Lucky claims that he is

   entitled to enforce the Note or the mortgage securing it because Mr. Lucky does not own the

   Note. Otherwise, the allegations of paragraph 48 of the Second Amended Complaint are denied.

          54.     The allegations of paragraph 54 of the Second Amended Complaint to the

   contrary are conclusory and/or argumentative allegations without specific facts. Such conclusory

   allegations without specific facts are insufficient and do not require an answer. Out of an

   abundance of caution, the allegations of paragraph 54 are denied.

          55.     The allegations of paragraph 55 of the Second Amended Complaint require no

   further response, but to the extent one may be required, the answers set forth above are

   incorporated by reference.

          56.     It is admitted that Louisiana Revised Statutes 13:4365(B) provides for the

   appointment of a third appraiser. It is denied that the statute requires an “independent” appraiser

   to be appointed. It is denied that the Sheriff allowed his role to be fulfilled by Mr. Lucky. The

   remaining allegations of paragraph 56 of the Second Amended Complaint are denied.

          57.     The allegations of paragraph 57 of the Second Amended Complaint to the

   contrary are conclusory and/or argumentative allegations without specific facts. Such conclusory

   allegations without specific facts are insufficient and do not require an answer. Out of an

   abundance of caution, the allegations of paragraph 57 are denied.

          58.     The allegations of paragraph 58 of the Second Amended Complaint to the

   contrary are conclusory and/or argumentative allegations without specific facts. Such conclusory




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   allegations without specific facts are insufficient and do not require an answer. Out of an

   abundance of caution, the allegations of paragraph 58 are denied.

             59.   The allegations of paragraph 59 of the Second Amended Complaint to the

   contrary are conclusory and/or argumentative allegations without specific facts. Such conclusory

   allegations without specific facts are insufficient and do not require an answer. Out of an

   abundance of caution, the allegations of paragraph 59 are further answered as follows. It is

   denied that the Sheriff or Ms. Flournoy allowed Mr. Lucky to select the third appraiser. It is

   denied that Mr. Lucky is a “preferred party.” Mr. Lucky does not know what that means. It is

   denied that Louisiana Revised Statutes 13:4365(B) is to address “discrepancies” between the

   appraisals by the appraisers. It is denied that Mr. Lacour’s appraisal is “biased and tainted.”

   Further answering, the argumentative premises set forth in paragraph 59 of the Second Amended

   Complaint are simply not supported by the law or the facts.

             60.   The allegations of paragraph 60 of the Second Amended Complaint to the

   contrary are conclusory and/or argumentative allegations without specific facts. Such conclusory

   allegations without specific facts are insufficient and do not require an answer. Out of an

   abundance of caution, the allegations of paragraph 60 of the Second Amended Complaint are

   denied. Further answering, the argumentative premises set forth in paragraph 60 of the Second

   Amended Complaint are simply not supported by the law or the facts.

             61.   The allegations of paragraph 61 of the Second Amended Complaint to the

   contrary are conclusory and/or argumentative allegations without specific facts. Such conclusory

   allegations without specific facts are insufficient and do not require an answer. Out of an

   abundance of caution, the allegations of paragraph 61 of the Second Amended Complaint are

   denied.



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             62.   The allegations of paragraph 62 of the Second Amended Complaint to the

   contrary are conclusory and/or argumentative allegations without specific facts. Such conclusory

   allegations without specific facts are insufficient and do not require an answer. Out of an

   abundance of caution, the allegations of paragraph 62 of the Second Amended Complaint are

   denied.

             63.   It is admitted that the Sheriff must comply with Louisiana Revised Statutes

   13:4365. However, it is denied that the Sheriff does not have discretion in the manner in which

   his duties are fulfilled. The remaining allegations of paragraph 63 of the Second Amended

   Complaint are conclusory and/or argumentative allegations without specific facts. Such

   conclusory allegations without specific facts are insufficient and do not require an answer. Out of

   an abundance of caution, the allegations of paragraph 63 of the Second Amended Complaint are

   otherwise denied.

             64.   The allegations of paragraph 64 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 64 of the Second Amended Complaint are denied.

             65.   The allegations of paragraph 65 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 65 of the Second Amended Complaint are denied.

             66.   The allegations of paragraph 66 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations




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   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 66 of the Second Amended Complaint are denied.

          67.    The allegations of paragraph 67 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 67 of the Second Amended Complaint are denied.

          68.    The allegations of paragraph 68 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 68 of the Second Amended Complaint are denied. It is

   denied that Mrs. Lawler has any claim for “abuse of process.”

          69.    It is admitted that the Note was purchased by Lucky Family, L.L.C. Otherwise,

   the allegations of paragraph 69 of the Second Amended Complaint are denied.

          70.    The allegations of paragraph 70 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 70 of the Second Amended Complaint are denied.

          71.    The allegations of paragraph 71 of the Second Amended Complaint are denied.

          72.    The allegations of paragraph 72 of the Second Amended Complaint are denied.

          73.    The allegations of paragraph 73 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 73 of the Second Amended Complaint are denied.



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          74     The allegations of paragraph 74 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 74 of the Second Amended Complaint are denied.

          75.    The allegations of paragraph 75 of the Second Amended Complaint are denied.

          76.    The allegations of paragraph 76 of the Second Amended Complaint are denied.

          77.    The allegations of paragraph 77 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 77 of the Second Amended Complaint are denied.

          78.    The allegations of paragraph 78 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 78 of the Second Amended Complaint are denied.

          79.    The allegations of paragraph 79 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 79 of the Second Amended Complaint are denied.

          80.    The allegations of paragraph 80 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 80 of the Second Amended Complaint are denied.




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          81.    The allegations of paragraph 81 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 81 of the Second Amended Complaint are denied.

          82.    The allegations of paragraph 82 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 82 of the Second Amended Complaint are denied.

          83.    The allegations of paragraph 83 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 83 of the Second Amended Complaint are denied.

          84.    The allegations of paragraph 84 of the Second Amended Complaint are denied.

          85.    The allegations of paragraph 85 of the Second Amended Complaint are denied.

          86.    The allegations of paragraph 86 of the Second Amended Complaint are denied.

          87.    The allegations of paragraph 87 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 87 of the Second Amended Complaint are denied.

          88.    The allegations of paragraph 88 of the Second Amended Complaint are

   conclusory and/or argumentative allegations without specific facts. Such conclusory allegations

   without specific facts are insufficient and do not require an answer. Out of an abundance of

   caution, the allegations of paragraph 88 of the Second Amended Complaint are denied.



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          89.     The allegations of paragraph 89 of the Second Amended Complaint require no

   further response, but to the extent one may be required, the answers set forth above are

   incorporated by reference.

          90.     The allegations of paragraph 90 of the Second Amended Complaint are denied.

          91.     The allegations of paragraph 91 of the Second Amended Complaint are denied.

          92.     Mr. Lucky admits that the Note was seized and sold for the purpose of collecting

   amounts owed to Mr. Lucky under the Judgment signed on January 5, 2018, in favor of Mr.

   Lucky against Ms. Lollar, which Judgment was executory. Otherwise, the allegations of

   paragraph 64 of the Second Amended Complaint are denied. Further answering, the

   argumentative premises set forth in paragraph 64 of the Second Amended Complaint are simply

   not supported by the law or the facts.

          93.     The allegations of paragraph 93 of the Second Amended Complaint are denied.

   Further answering, as set forth above, the property to which plaintiffs refer was previously

   owned by Ms. Lollar and was so owned until Ms. Lollar, Mr. Lollar, and Magnolia, assisted by

   Ms. Lollar’s attorney and Magnolia’s registered agent, Mr. Powell, caused Magnolia to be

   formed and the property to be transferred by the Credit Sale Deed with Vendor’s Lien and

   Special Mortgage immediately before Lucky I was to be deemed under advisement for a decision

   by the State Court. Further, the property was then owned in Mr. Lollar’s name, but Mr. Lollar

   and Magnolia executed the Exchange Deed, with Assumption of Mortgage (also immediately

   before Lucky I was to be deemed under advisement in the State Court for a decision). The

   allegations above in answer to paragraph 14 are hereby incorporated in answer to paragraph 93

   of the Second Amended Complaint.




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          94.     The allegations of paragraph 94 of the Second Amended Complaint are denied.

   Notice was served on Ms. Lollar through her attorney, Mr. Powell, who was also Magnolia’s

   registered agent and who was present at the sheriff’s sale.

          95.     The allegations of paragraph 95 of the Second Amended Complaint are denied.

          96.     The allegations in paragraph 96 of the Second Amended Complaint essentially

   seek an injunction without any allegations having been made that are sufficient to support the

   issuance of an injunction and without plaintiffs having followed any of the procedural rules for

   injunctive relief. Further, the plaintiffs allege: “Upon information and belief, the first annual

   installment due under the Note on November 1, 2018 had been pre-paid to the original holder of

   the Note as provided for under the terms of the Note.” The Court will notice that this allegation

   is made on “information and belief.” The Note was previously held by Ms. Lollar, who is a

   plaintiff in this action, and was made by Mr. Lollar (Ms. Lollar’s husband) and assumed by

   Magnolia, who is also a plaintiff in this action. If a payment was made, then the plaintiffs could

   certainly make an affirmative allegation (as opposed to an allegation on “information and

   belief”) that the payment was made and include such details as when, by whom, and to whom,

   and provide documentary evidence thereof. This “information and belief” allegation of a

   payment is denied, and all other allegations of paragraph 96 of the Second Amended Complaint

   are denied.

          97.     The allegations of paragraph 97 of the Second Amended Complaint require no

   answer but to the extent the same may be required, the allegations are denied.




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             AND NOW, for his counterclaims, W. A. LUCKY, III (“Counterclaimant”), respectfully

   represents:

             1.    Made defendants on this counterclaim are Barbara Marie Carey Lollar (“Ms.

   Lollar”) and Magnolia Island Plantation, L.L.C. (“Magnolia”).

             2.    On November 13, 2019, and November 26, 2019, Ms. Lollar’s counsel demanded

   that Mr. Lucky pay $8,365.00 as the amount she was awarded for the costs of the appeal in

   Lucky I, and $97,593.50 as the proceeds from the Sheriff’s sale of the Note.

             3.    On December 3, 2019, Mr. Lucky’s counsel sent two official checks payable to

   Ms. Lollar’s counsel in the amounts of $8,430.00 for the appeal costs and $97,593.50 as the

   proceeds from the Sheriff’s sale of the Note.

             4.    Ms. Lollar accepted and negotiated both of these checks by negotiating same with

   her endorsements “Pay to the order of Davidson Summers,” and the checks cleared Citizens

   Bank on December 5, 2019.

             5.    Ms. Lollar demanded, received, and has retained the proceeds from the Sheriff’s

   sale. Ms. Lollar has thereby ratified the sale of the Note. Ms. Lollar has thereby made a judicial

   admission of the legality of the sale. However, in the event that, notwithstanding the legality of

   the Sheriff’s sale of the Note and Ms. Lollar’s ratifications and judicial admission, there is any

   judgment which results in the return of the Note to Ms. Lollar, then there should be judgment in

   favor of Mr. Lucky and against Ms. Lollar in the amount of $97,593.50 (the proceeds from the

   Sheriff’s sale of the Note). Ms. Lollar could not both retain the proceeds from the Sheriff’s sale

   of the Note and have the Note back. Stated another way, Ms. Lollar cannot eat her cake and have

   it too.




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            6.     Barbara Marie Carey Lollar and Magnolia Island Plantation, L.L.C. have filed this

   action against Counterclaimant under 42 U.S.C. §§ 1983. 42 U.S.C. § 1988 provides that, in any

   action or proceeding to enforce a provision of section 1983, the Court, in its discretion, may

   allow the prevailing party, other than the United States, a reasonable attorney’s fee as part of the

   costs.

            7.     Counterclaimant desires and is entitled to be awarded attorney’s fees upon

   prevailing in this action.

            WHEREFORE, W. A. LUCKY, III PRAYS:

            I.     That the above and foregoing answer be deemed good and sufficient, and after

                   due proceedings, there be judgment rendered in defendants’ favor and against

                   plaintiffs, dismissing plaintiffs’ claims, with prejudice, and at plaintiffs’ costs;

            II.    That, in any event that there is any judgment which results in the return of the

                   Note to Ms. Lollar, then there be judgment in favor of W. A. LUCKY, III and

                   against Barbara Marie Carey Lollar in the amount of $97,593.50 (the proceeds

                   from the Sheriff’s sale of the Note);

            III.   That defendant W. A. Lucky, III, as counterclaimant, recover all costs of this

                   action, including reasonable attorney’s fees pursuant to 42 U.S.C. §1988, from

                   Barbara Marie Carey Lollar and Magnolia Island Plantation, L.L.C.;

            IV.    That defendant W. A. Lucky, III, as counterclaimant, recover judicial interest; and

            V.     For all other and further relief as this Court may deem appropriate.




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                                      AYRES, SHELTON, WILLIAMS,
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